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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                   TEXARKANA DIVISION

   KALDREN LLC,                                        §
                                                       §
                                                       §   CIVIL ACTION NO. 5:17-CV-00071-RWS
                    Plaintiff,                         §
                                                       §
   v.                                                  §
                                                       §
   THE PROCTOR & GAMBLE COMPANY,                       §
                                                       §
                    Defendant.                         §


        .
                                          FINAL JUDGMENT

            This action came on before the Court, and the issues having been duly considered and a

  decision having been duly rendered, it is

            ORDERED and ADJUDGED that the above-styled lawsuit is DISMISSED WITH

  PREJUDICE.

            All motions by either party not previously ruled on are DENIED.

            The Clerk of the Court is directed to close the case.

            So ORDERED and SIGNED this 31st day of August, 2017.




                                                               ____________________________________
                                                               ROBERT W. SCHROEDER III
                                                               UNITED STATES DISTRICT JUDGE
